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                                                      October 26, 2021
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    8                      UNITED STATES DISTRICT COURT
    9                    CENTRAL DISTRICT OF CALIFORNIA
   10
   11 ELIS EMMANUEL individually              )   Case No. 8:20-CV-00482-SB (ADSx)
      and as successor-in-interest of         )
   12
      TAEVONTE ART EMMANUEL                   )   JUDGMENT ENTERED UPON
   13 deceased,                               )   PLAINTIFFS’ ACCEPTANCE OF
                                              )   DEFENDANTS’ OFFER OF
   14
                   Plaintiffs,                )   JUDGMENT PURSUANT TO
   15                                         )   FEDERAL RULE OF CIVIL
             vs.                              )   PROCEDURE 68
   16
                                              )
   17 CITY OF ANAHEIM; ANAHEIM                )
   18 POLICE DEPARTMENT, public               )
      entities; and DOES 1 through 50,        )
   19 individually and as peace officers,     )
   20 inclusive,                              )
                                              )
   21              Defendants.                )
   22                                         )
                                              )
   23
   24        Pursuant to the terms of the offer of judgment made by defendants pursuant
   25 to Federal Rule of Civil Procedure 68, which was accepted by the plaintiffs,
   26       NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED
   27 that final judgment in this action be entered as follows:
   28
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                       JUDGMENT ENTERED UPON PLAINTIFFS’
       ACCEPTANCE OF DEFENDANTS’ OFFER OF JUDGMENT PURSUANT TO
                       FEDERAL RULE OF CIVIL PROCEDURE 68
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    1         1.    Judgment is entered in favor of Plaintiff Elis Emmanuel, as successor-
    2 in-interest to Taevonte Art Emmanuel deceased, and against Defendant City of
    3 Anaheim, only, in the sum of two hundred and fifty thousand dollars and no cents
    4 ($250,000.00).
    5         2.    Judgment is entered in favor of Plaintiff Elis Emmanuel, as an
    6 individual, and against Defendant City of Anaheim, only, in the sum of two
    7 hundred and fifty thousand dollars and no cents ($250,000.00).
    8         3.    Judgment is entered in favor of Plaintiff FAI. E., a minor by and
    9 through her Guardian Ad Litem Elis Emmanuel, and against Defendant City of
   10 Anaheim, only, in the sum of five hundred thousand dollars and no cents
   11 ($500,000.00).
   12         4.    Judgment is entered in favor of Plaintiff FAR. E., a minor by and
   13 through her Guardian Ad Litem Elis Emmanuel, and against Defendant City of
   14 Anaheim, only, in the sum of five hundred thousand dollars and no cents
   15 ($500,000.00).
   16         5.    Judgment is entered in favor of Plaintiff JE. E., a minor by and
   17 through his Guardian Ad Litem Elis Emmanuel, and against Defendant City of
   18 Anaheim, only, in the sum of five hundred thousand dollars and no cents
   19 ($500,000.00).
   20         6.    This Judgment shall operate to expressly release and discharge the
   21 City of Anaheim, the Anaheim Police Department, and all of its employees, law
   22 enforcement officers, council members or other agents, including but not limited to
   23 Gustavo Maya, Gregory Stys, and Michael Fleet, from any and all claims that arise
   24 out of this civil action. Furthermore, this Judgment shall be in full satisfaction of
   25 all claims or rights that the plaintiffs may have that arises out of the alleged acts or
   26 omissions of the City of Anaheim and its employees, law enforcement officers,
   27 council members or other agents, whether named or unnamed, including but not
   28 limited to Gustavo Maya, Gregory Stys, and Michael Fleet pertaining to the facts
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                       JUDGMENT ENTERED UPON PLAINTIFFS’
       ACCEPTANCE OF DEFENDANTS’ OFFER OF JUDGMENT PURSUANT TO
                       FEDERAL RULE OF CIVIL PROCEDURE 68
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    1 and issues underlying this civil action.
    2        7.     Plaintiffs shall recover costs and attorney fees awardable by statute,
    3 contract or otherwise that were incurred up to October 6, 2021, the date of the
    4 offer, the amount of which shall be determined by the court only upon timely
    5 motion by the plaintiffs and according to proof.
    6
    7 DATED: October 25, 2021                    ___________________________________
                                                   Honorable Stanley Blumenfeld, Jr.
    8
                                                      United States District Judge
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                   JUDGMENT ENTERED UPON PLAINTIFFS’
        ACCEPTANCE OF DEFENDANTS’ OFFER OF JUDGMENT PURSUANT TO
                   FEDERAL RULE OF CIVIL PROCEDURE 68
